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                                                         The Honorable S. Kate Vaughan
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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 7
     TSR LLC,
 8
                       Plaintiff,                No. 2:21-cv-01705-SKV
 9
           v.
10                                               [PROPOSED] ORDER
     WIZARDS OF THE COAST LLC,                   GRANTING COUNTERCLAIM
11                                               PLAINTIFF’S MOTION FOR
                       Defendant.                PRELIMINARY INJUNCTION
12

13

14 WIZARDS OF THE COAST LLC,

15                     Counterclaim Plaintiff,

16         v.

17 TSR LLC; JUSTIN LANASA; and DUNGEON
   HOBBY SHOP MUSEUM LLC,
18
                    Counterclaim Defendants.
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                                                                 Davis Wright Tremaine LLP
     ORDER GRANTING PRELIMINARY INJUNCTION                                 L AW O FFICE S
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 1          THIS MATTER came before the Court on the Motion for a Preliminary Injunction

 2 (“Motion”) of Wizard of the Coast LLC (“Wizards” or “Counterclaim Plaintiff”). The Court has

 3 considered Counterclaim Plaintiff’s Motion and governing law, and the opposition papers of TSR

 4 LLC, Justin Lanasa, and Dungeon Hobby Shop Museum LLC (“Counterclaim Defendants”).

 5 Accordingly, it is hereby ORDERED:

 6          1.      Counterclaim Plaintiff’s Motion is GRANTED.

 7          2.      Wizards has demonstrated that it is entitled to immediate injunctive relief by

 8 establishing: (a) it is likely to succeed on the merits of its claims, (b) it will suffer irreparable

 9 injury absent the injunctive relief sought, (c) the balance of hardships weighs in Wizards’ favor,

10 and (d) the public interest favors granting injunctive relief.

11          3.      With respect to likelihood of success on the merits, Wizards has demonstrated that

12 it is likely to succeed in showing:

13               a. Wizards owns enforceable trademark rights in the “Star Frontiers” and “TSR”

14                  marks (“Marks”) because Wizards used the Marks in connection with role playing

15                  games before Counterclaim Defendants began using their marks, and Wizards has

16                  continued to use the Marks in commerce in connection with those goods; and

17               b. Counterclaim Defendants have created a likelihood of confusion by using marks

18                  that are confusingly similar to the Marks in commerce in connection with role

19                  playing games.

20          4.      Counterclaim Defendants’ use of the Marks in connection with Counterclaim

21 Defendants’ Star Frontiers New Genesis product has caused immediate and irreparable injury to

22 Wizards’ reputation with prospective and current customers, goodwill, and other intangible assets,

23 and will continue to cause such harm if injunctive relief is not granted.

24          5.      The harm Wizards will suffer as a result of Counterclaim Defendants’ actions if the

25 requested injunctive relief is denied outweighs any harm to Counterclaim Defendants’ legitimate

26 interests that will result from granting such relief.

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 1          6.       It is in the public interest to protect the Marks and enjoin unauthorized distribution

 2 of products in connection with marks that are confusingly similar to Wizards’ Marks.

 3          7.       The following persons who receive actual notice of this Preliminary Injunction by

 4 personal service or otherwise are bound and restrained by it: (a) TSR LLC, Justin Lanasa, and

 5 Dungeon Hobby Shop Museum LLC ; (b) agents, servants, employees, and attorneys of TSR LLC,

 6 Justin Lanasa, or Dungeon Hobby Shop Museum LLC, and (c) other persons who are in active

 7 concert or participation with anyone described in (a) or (b).

 8          8.       The persons described in Paragraph 7 above are hereby RESTRAINED from

 9 infringing Counterclaim Plaintiff’s Star Frontiers and TSR trademarks by selling, promoting,

10 advertising, marketing, offering, or distributing any iteration of the Star Frontiers New Genesis

11 product.

12          9.       This Preliminary Injunction shall remain in effect for the pendency of this litigation,

13 unless otherwise dissolved by the Court.

14          IT IS SO ORDERED

15          DATED this ___________ day of _________________________, 2022.

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17                                                        S. Kate Vaughan
18                                                        UNITED STATES MAGISTRATE JUDGE
     Presented by:
19

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